                      CASE 0:12-cv-01197-JRT-AJB        Doc. 29      Filed 09/10/13     Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                         UNITED STATES DISTRICT COURT
                                                 District of Minnesota

BILLY RANSOM, MICHAEL JOSEPH
HAYES, MARK HAAF, DANIEL BRIAN
BENSON, LEROY BLEDSOE, DAVID A.
RIECK, HERMAN PEARSON, JEREMY
PEARSON, CLINTON PEARSON,
TIMOTHY RETHWISCH, DAVID
PRESTOLT, ROGER ENGLAND,
ROBERT REFFER, CHARLES L.
                                                            JUDGMENT IN A CIVIL CASE
DRAPER, DANIEL WINTER, MARK
JURGENSEN, CLAYTON ELLIS, PAUL
SKAGTER, JOHN KEM, RICHARD
STONE, DANIEL BESS, and LEE VAN
BOVEN,

                                   Plaintiffs,

   V.
                                                                    Case Number: 12-1197 (JRT/AJB)
VFS, INC., WARREN AMUNDSON, and
DONNA M. WALRAVEN,

                                   Defendants.


    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED THAT:

     that this action is dismissed with prejudice, the Court retaining jurisdiction for forty-five days to permit
    any party to move or reopen the action, for good cause shown, or to submit and file a stipulated form of
    final judgment, or to seek enforcement of the settlement terms.

                        September 10, 2013                             RICHARD D. SLETTEN, CLERK
Date
                                                                                   s/J. Zuech
                                                             (By)                         J. Zuech Deputy Clerk




         Form Modified: 09/16/04
